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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :          Criminal No. 1:21-MJ-99 (RMM)
                                              :
              v.                              :
                                              :
RILEY JUNE WILLIAMS                           :


                   MOTION TO AMEND CONDITIONS OF RELEASE

     The defendant, Riley June Williams respectfully requests that the Court amend her

conditions of release pursuant to 18 U.S.C. §3142(c)(3), for the following reasons.

1.     By criminal complaint filed January 17, 2021, Ms. Williams was charged with

knowingly entering or remaining in any restricted building or grounds without lawful

authority, in violation of 18 U.S.C. § 1752(a)(1) and violent entry and disorderly conduct

on Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2).

2.     On January 19, 2021, an amended criminal complaint was filed adding the

additional charges of aiding and abetting others to, embezzle, steal, purloin, in violation

of 18 U.S.C §§ 641 & 2, and obstructing, influencing, or impeding any official

proceeding, in violation of 18 U.S.C. § 1512(c)(2).

3.     On January 21, 2021, a corrected amended criminal complaint was filed adding

the charge of knowingly entering or remaining in any restricted building or grounds

without lawful entry, in violation of 18 U.S.C. § 1752(a)(2).

4.     On January 21, 2021, after extended hearings, Ms. Williams was released with

conditions. Among her conditions, Ms. Williams was placed on location monitoring and

home detention. Ms. Williams is restricted to her residence at all times except for
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employment; education; religious services; medical, substance abuse, or mental health

treatment; attorney visits; court appearances; court-ordered obligations; or other activities

approved in advance by the pretrial services office or supervising officer. See (Conditions

of Release, January 27, 2021).

5.       Ms. Williams has been on home detention since January 21, 2021, four months.

6.       Ms. Williams has a status conference with this Court on May 28, 2021.

7.       Ms. Williams has not yet been indicted and has been agreeing to waive her speedy

trial rights thus far.

8.       Ms. Williams has bills to pay including a car payment, and a phone payment as

she was ordered to get a flip phone in this case.

9.       It is unlikely, given the volume of cases, and the fact that Ms. Williams has not

been indicted, that this case will proceed to trial anytime soon.

10.      David Herzog, the United States Pretrial Services Officer providing courtesy

supervision has told undersigned that Ms. Williams has not violated the conditions of

release as far as he knows.

11.      Ms. Williams is asking this Court to modify the conditions of release to allow her

to leave her house between the hours of 7:00 a.m. and 8:00 p.m. This will allow her to

look for and hopefully obtain employment and give her a little freedom of movement as

the case progresses at what is expected to be for a protracted period.

12.      The government has indicated to counsel that it will oppose this motion.

      WHEREFORE, for the foregoing reasons, Riley June Williams respectfully requests

that the Court amend her conditions of release.
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                                  Respectfully submitted,

Date: May 25, 2021                /s/ Lori J. Ulrich
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